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             Exhibit F
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                                                          U.S. Department of Justice

                                                          Andrew E. Lelling
                                                          United States Attorney
                                                          District of Massachusetts
Main Reception: (617) 748-3100                            John Joseph Moakley United States Courthouse
                                                          1 Courthouse Way
                                                          Suite 9200
                                                          Boston, Massachusetts 02210




                                                          November 27, 2019
VIA E-MAIL
Sean Berkowitz, Esq.
Latham & Watkins LLP
330 North Wabash Avenue, Suite 2800
Chicago, IL 60611

          Re:       United States v. Mossimo Giannulli and Lori Loughlin,
                    No. 19-cr-10080-NMG

Dear Mr. Berkowitz:

        As we have indicated to you under separate cover, we have re-reviewed the FBI 302 reports
of witness interviews in this case and – although we do not believe that any of the information set
forth below is exculpatory – we are disclosing it to you in an abundance of caution.

          •     Rick Singer has advised the government, in sum and in substance, that:
                (a) Singer told Giannulli and Loughlin that, in exchange for getting Isabella
                admitted to the University of Southern California (“USC”) as a recruited
                coxswain, they would need to write a $50,000 check to Donna Heinel at USC
                and pay an additional $200,000 through the KWF; (b) Lori Loughlin was in
                charge and told the couple’s daughters that they needed to do better in high
                school; (c) Singer did not have to explain how the side door scheme would work
                with Olivia since both Giannulli and Loughlin were familiar with the scheme
                since they had used it to secure Isabella’s admission to USC; (d) as far as Singer
                was aware, Isabella and Olivia took their standardized tests on their own; and
                (e) when Philip Petrone began asking questions about why Olivia was admitted
                to USC as a recruit to the crew team (given that she did not participate in crew),
                Singer told Giannulli that Petrone could mess things up and advised Giannulli
                to speak with Petrone.

          •     Josh Adams, USC’s crew coach, has advised the government, in sum and in
                substance, that, while it was not typical, the USC crew team sometimes would
                have walk-on coxswains without experience.
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       •   Philip Petrone, Co-Director of College Counseling at Marymount high school,
           has advised the government, in sum and in substance, that: (a) Giannulli asked
           if Petrone had told USC that his daughters were bad candidates, and Petrone
           confirmed that he did not; and (b) Giannulli told Petrone that Olivia was a
           coxswain; and (c) Petrone told Giannulli that he would tell USC that Olivia was
           a coxswain.

       •   Jacqueline Landry, Head of School at Marymount high school, has advised the
           government, in sum and in substance, that: (a) Giannulli told Petrone that
           Olivia rowed crew at a private club; and (b) Landry told Giannulli that
           Marymount would not interfere with Olivia’s application to USC.

       We are aware of the continuing nature of our discovery obligations, and we will continue
to make additional disclosures as required. We reiterate our request for reciprocal Rule 16
discovery.

                                                    Sincerely,

                                                    ANDREW E. LELLING
                                                    United States Attorney


                                               By: /s/ Kristen A. Kearney
                                                   ERIC S. ROSEN
                                                   JUSTIN D. O’CONNELL
                                                   KRISTEN A. KEARNEY
                                                   LESLIE A. WRIGHT
                                                   Assistant U.S. Attorneys




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